
668 S.E.2d 343 (2008)
STATE of North Carolina
v.
Dedric Paxton CRUMP.
No. 435P08.
Supreme Court of North Carolina.
October 9, 2008.
Dedric Paxton Crump, Pro Se.
Anne M. Middleton, Assistant Attorney General, Thomas J. Keith, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 16th day of September 2008 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 9th day of October 2008."
